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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RAMSES POLLAND,                                  )
                                                 )     No. 2020 CV
     Plaintiff,                                  )
                                                 )     Judge
v.                                               )
                                                 )
CITY OF CHICAGO, a municipal                     )     Jury Demanded
corporation, and OFFICERS RUSSELL                )
ELLIS II and JOSHUA RANKIN,                      )
                                                 )
     Defendants.                                 )

                                      COMPLAINT

      NOW COMES the plaintiff, Ramses Polland, by his attorneys, Richard R.

Mottweiler and Mark F. Smolens, Mottweiler & Smolens, LLP, and as his

complaint against the defendants, states the following:

     1.      This action seeks damages under federal law, Title 42 U.S.C. §1983,

for defendants' actions on December 29, 2018 which violated plaintiff's right

to be free from excessive and unreasonable force under the Fourth and

Fourteenth Amendments to the United States Constitution.

                                   Jurisdiction and Venue

     2. The jurisdiction of this Court is invoked pursuant to Title 28 U.S.C.

sections 1331 and 1343. Venue in this District is predicated upon Title 28

U.S.C. Section 1391(b) as all events giving rise to the claims asserted herein

took place within this Northern District of Illinois.




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                                         Parties

   3.      At all times material hereto, the plaintiff, Ramses Polland, was a

thirty-seven year old resident of the City of Chicago, County of Cook, State

of Illinois, in this District.

   4.      At all times material hereto defendant Officer Russell Ellis, star

#18288, was a sworn law enforcement officer employed by the City of

Chicago, acting under color of the statutes, ordinances, customs, and usage

of the State of Illinois, City of Chicago, and the Chicago Police Department.

Plaintiff sues Officer Ellis in his individual capacity.

   5.      At all times material hereto defendant Officer Joshua Rankin, star

#13982, was a sworn law enforcement officer employed by the City of

Chicago, acting under color of the statutes, ordinances, customs, and usage

of the State of Illinois, City of Chicago, and the Chicago Police Department.

Plaintiff sues Officer Rankin in his individual capacity.

   6.      The City of Chicago is a municipal corporation located in the State

of Illinois in this Judicial District. At all relevant times, the City of Chicago

was the employer of the individually named defendant officers, Ellis and

Rankin. The defendant officers were at all relevant times employed by the

City as a duly appointed police officers, acting within the course and scope of

their employment and under color of law, and as a result, said officers are

entitled to indemnification from the City for any judgment entered against

them for compensatory damages.


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                                  Factual Allegations

   7.      On December 29 2018, at some time after 2 p.m., plaintiff Ramses

Polland was in the area of the alley behind 80th and Burnham in the City of

Chicago, along with three other individuals from the neighborhood.

   8.      At that time, plaintiff Polland encountered the two individual

defendant officers, and when the other individuals in the alley began to run,

the plaintiff did the same.

   9.      During the course of the defendant officers taking plaintiff Polland

into custody, plaintiff sustained severe injury to his right wrist and arm.

   10.         Even if the defendant officers had a lawful reason or basis to

take the plaintiff into custody, in so doing they were obligated under the

Constitution to do so without using excessive or unreasonable force.

   11.     After being cuffed and taken into custody in the rear of the

defendants' squad car, plaintiff repeatedly complained that the handcuffs

behind his back were hurting his wrist, but the defendants cruelly and

maliciously failed to adjust or release those cuffs until after the plaintiff was

transported to the police station.

   12.     Upon arriving at the police station, other Chicago police officers

listened to the plaintiff's complaints of injury, and he was taken to South

Shore Hospital for emergency treatment, where he was diagnosed with a

fractured wrist.




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   13.   During the course of his continued detention in the Cook County

Jail, on January 18, 2019 the plaintiff underwent a surgical procedure -- an

open reduction with internal fixation -- to repair a distal fracture of his right

wrist.

   14.   By reason of the above-described acts and omissions of the

defendant police officers, plaintiff sustained physical injuries, humiliation,

and indignities, and also suffered great mental and emotional pain and

suffering, all to his damage.

   15.   The aforementioned acts of the defendant police officers were

objectively unreasonable and undertaken intentionally with willful and

deliberate indifference and callous disregard for plaintiff’s right to be free

from excessive and unreasonable force.

   16.   The misconduct described above was undertaken with malice,

willfulness, and reckless indifference to the rights of others.

   17.   By reason of the above-described acts and omissions of the

defendants, plaintiff was required to retain an attorney to institute,

prosecute and render legal assistance to him in the instant case, so that he

might vindicate the loss and impairment of his rights.

                           § 1983 Excessive Force

   18.   Plaintiff re-alleges and incorporates paragraphs one through

seventeen above as if fully restated here as this paragraph eighteen.




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   19.   At all times relevant hereto, plaintiff had the right to be from injury

from unreasonable, malicious, excessive force from state actors such as

defendants Ellis and Rankins, as protected by the Fourth and Fourteenth

Amendments to the Constitution of the United States.

   20.   As described above, even if the defendant officers had reasonable

grounds to justify the plaintiff's arrest, said defendants violated plaintiff’s

right to be free from unreasonable, malicious, and excessive force when

without just cause or provocation plaintiff's wrist was broken during the

course of his being taken into custody by the defendants.

   21.   As result of defendants’ concerted unjustified and excessive use of

force, plaintiff Ramses Polland suffered injuries and pain which ultimately

resulted in the need for a surgical repair of his wrist requiring the insertion

of hardware, as well as severe emotional distress, much of which continues

to this day.

   22.   The misconduct described herein was objectively unreasonable and

took place intentionally with willful deliberate indifference to Ramses

Polland’s constitutional rights. The misconduct described was undertaken

with malice, willfulness, and reckless indifference to the rights of others. As

a result of defendant officers' actions or omissions plaintiff has suffered

physical injury and severe emotional damages.




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      WHEREFORE, the plaintiff, Ramses Polland, respectfully requests that

judgment be entered in his favor, that compensatory and punitive damages

be awarded against defendants Ellis and Rankins in an amount to be

determined by the jury. Plaintiff further requests an award pursuant to Title

28 U.S.C. § 1988 for attorney's fees and costs, in addition to any other relief

deemed just or proper by this Court.



                                     /s/ Mark F. Smolens_____________
                                     One of the attorneys for plaintiff




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